                                         Case 4:13-md-02420-YGR Document 833 Filed 09/14/15 Page 1 of 1




                                   1

                                   2

                                   3                                 UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                        IN RE:
                                   6                                                        Case No. 13-md-02420-YGR (DMR)
                                        LITHIUM ION BATTERIES ANTITRUST
                                   7    LITIGATION                                          ORDER RE PROPOSED PROTECTIVE
                                                                                            ORDER
                                   8

                                   9                                                        Re: Dkt. No. 824

                                  10

                                  11          The court has received the proposed stipulated protective order filed on September 8, 2015

                                  12   related to Microsoft Mobile Inc. and Microsoft Mobile Oy v. LG Chem America, Inc., et al.
Northern District of California
 United States District Court




                                  13   [Docket No. 824 (“Microsoft protective order”).] It is not clear how the Microsoft protective

                                  14   order relates to the stipulated protective order already in place in this matter. [See Docket No. 193

                                  15   (“original protective order”).] For example, it is not clear whether the Microsoft protective order

                                  16   covers different parties or contains different substantive provisions from those in the original

                                  17   protective order. The court is concerned about the potential for confusion caused by multiple

                                  18   operative protective orders. Therefore, by no later than September 28, 2015, the parties who

                                  19   negotiated the Microsoft protective order shall submit a redlined version of the proposed

                                  20   protective order which shows the differences between the Microsoft protective order and the

                                  21   original protective order. The parties shall also file a joint statement explaining which parties

                                  22   would be covered by the Microsoft protective order, describing the differences between the two
                                                                                                                     ISTRIC
                                  23   protective orders, and explaining why such changes are necessary.        TES D      TC
                                                                                                              TA
                                                                                                                                 O
                                                                                                          S




                                  24
                                                                                                                                  U
                                                                                                         ED




                                                                                                                                   RT




                                                                                                                                D
                                                                                                                        RDERE
                                                                                                     UNIT




                                  25          IT IS SO ORDERED.                                                       OO
                                                                                                              IT IS S
                                                                                                                                      R NIA




                                  26   Dated: September 14, 2015
                                                                                                                               u
                                                                                                                       a M. Ry
                                                                                        ______________________________________
                                                                                                     NO




                                  27                                                                          e D
                                                                                                             g Ryuo nn
                                                                                                                                    FO




                                                                                                     DonnaJudM.
                                                                                                       RT




                                                                                                                                    LI




                                  28                                                              United States Magistrate Judge
                                                                                                       ER
                                                                                                         H




                                                                                                                                 A




                                                                                                           N                   C
                                                                                                                             F
                                                                                                             D IS T IC T O
                                                                                                                    R
